                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


    STATE OF MARYLAND, et al.,

    Plaintiffs,                                      Case No. 1:25-cv-00748-JKB

           v.

    UNITED STATES DEPARTMENT OF
    AGRICULTURE, et al.,

    Defendants.


                RESTRAINED DEFENDANTS’ COMPLIANCE STATUS REPORT

         Defendants, through undersigned counsel, hereby file a Status Report documenting the

actions they have taken to comply with the Court’s Temporary Restraining Order (“TRO”) of

March 13, 2025 (ECF No. 43). The Court’s order applies to 21 federal agencies (ECF 44 at 2-3)

(hereinafter “Restrained Defendants”).1 Plaintiffs filed a motion for a temporary restraining order

on March 9, 2025; Defendants filed an opposition on March 10, 2025; and the Court heard

argument on March 12, 2025. On March 13, 2025, at approximately 8:30 PM, the Court issued

the TRO, which stayed the “purported terminations” of “Affected Probationary Employees” and

ordered the reinstatement of those same employees, in addition to an order directing Restrained

Defendants to conduct any future Reductions in Force (“RIFs”) consistent with statutory and


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   The Restrained Defendants include United States Department of Agriculture; United States
Department of Commerce; United States Department of Education; United States Department of
Energy; United States Department of Health and Human Services; United States Department of
Homeland Security; United States Department of Housing and Urban Development; United States
Department of Interior; United States Department of Labor; United States Department of
Transportation; United States Department of Treasury; United States Department of Veterans
Affairs; Consumer Financial Protection Bureau; Environmental Protection Agency; Federal
Deposit Insurance Corporation; General Services Administration; Small Business Administration;
and the U.S. Agency for International Development, along with their corresponding agency
personnel.
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regulatory requirements. The Court’s Order also required the filing of a Compliance Report, as

per this term:

       On or before Monday, March 17, 2025, at 1:00 p.m. EDT, the Restrained
       Defendants SHALL FILE on the Court’s electronic docket a Status Report
       documenting the actions that they have taken to comply with this Order. Such Status
       Report shall set forth the number of Affected Probationary Employees reinstated at
       each Defendant agency, broken down by subagency, department, and/or other
       subdivision, to the greatest degree of granularity practicable.

ECF 44 at 3. Consistent with the Court’s order, Restrained Defendants submit this compliance

status report. In support of this Compliance Report, Restrained Defendants submit the attached

Declarations, see Exhibit 1, which demonstrate their compliance with the TRO. Defendants will

continue all reasonable efforts to summarize the progress of all remaining Restrained Defendants

and submit any further reports as needed.

                                            Respectfully submitted,

                                            YAAKOV ROTH
                                            Acting Assistant Attorney General
                                            Civil Division

                                            ERIC J. HAMILTON
                                            Deputy Assistant Attorney General

                                            DIANE KELLEHER
                                            Branch Director

                                            /s/ Christopher R. Hall
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                                 CERTIFICATE OF SERVICE

I certify that on this 17th day of March 2025, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF System, which will send notice of such filing to all counsel.


                                                      /s/ Beatrice C. Thomas
                                                      Beatrice C. Thomas
                                                      Assistant United States Attorney




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